Case 3:01-cr-00141-GPC          Document 390         Filed 04/01/08      PageID.4517        Page 1 of 2



   1
   2
   3
   4
   5
   6
   7
   8
   9                             UNITED STATES DISTRICT COURT
  10                          SOUTHERN DISTRICT OF CALIFORNIA
  11
  12    RAPHYAL CRAWFORD,                                           Criminal Case No. 01cr141-IEG
                                                                    Civil Case No. 07cv2136-IEG
  13                                          Petitioner,
                vs.                                                 ORDER GRANTING
  14                                                                RESPONDENT’S MOTION FOR A
                                                                    FINDING PETITIONER WAIVED
  15    UNITED STATES OF AMERICA                                    ATTORNEY CLIENT PRIVILEGE
                                                                    [Doc. No. 372]
  16                                       Respondent.
  17
  18          Presently before the Court is Respondent’s motion for waiver of attorney-client privilege.

  19          On November 7, 2007, Petitioner filed a motion to vacate, set aside, or correct his sentence

  20   pursuant to 28 U.S.C. § 2255.

  21          Petitioner claims his defense attorney, Michael McCabe was ineffective in (1) failing to

  22   raise certain objections to the pre-sentence report prepared for Petitioner’s sentencing and (2)

  23   failing to object to the district court’s failure to make use of the pre-sentence report at sentencing.

  24          As the Ninth Circuit has recently observed “[i]t has long been the rule in the federal courts

  25   that, where a habeas petitioner raises a claim of ineffective assistance of counsel, he waives the

  26   attorney-client privilege as to all communications with his allegedly ineffective lawyer.” Bittaker

  27   v. Woodford, 331 F.3d 715, 716 (9th Cir. 2003). The court explained that such waiver should be

  28   no larger than necessary to litigate the claim of ineffective assistance of counsel in federal court.


                                                            -1-
Case 3:01-cr-00141-GPC          Document 390        Filed 04/01/08       PageID.4518      Page 2 of 2



   1   Id. at 722.
   2           Accordingly, because Petitioner here raises a claim of ineffective assistance of counsel, the
   3   Court finds he has waived the attorney-client privilege as to communications raised in Petitioner’s
   4   motion and related to the litigation of his federal habeas petition.
   5
       IT IS SO ORDERED.
   6
   7
   8   DATED: April 1, 2008
   9
                                                        IRMA E. GONZALEZ, Chief Judge
  10                                                    United States District Court
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28


                                                        -2-
